Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 1 of 6 Page ID
                                 #:110109
Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 2 of 6 Page ID
                                 #:110110
Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 3 of 6 Page ID
                                 #:110111
Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 4 of 6 Page ID
                                 #:110112
Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 5 of 6 Page ID
                                 #:110113
Case 2:04-cv-09049-DOC-RNB Document 4316-17 Filed 09/30/08 Page 6 of 6 Page ID
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